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 5                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF WASHINGTON
 6                                  AT SEATTLE
 7
      UNITED STATES OF AMERICA,
 8                         Plaintiff,                  Case No. CR12-41RSL

 9           v.                                        ORDER DENYING MOTION
      LONG DUONG,                                      TO AMEND CONDITIONS OF
10                                                     HOME DETENTION
                           Defendant.
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12
           This matter comes before the Court on Defendant’s “Motion to Amend
13   Conditions of Home Detention of Defendant, Mr. Long Duong” (Dkt. # 227). Having
14   considered the facts set forth in the motion, the government’s response, and remainder
15   of the record, the Court DENIES Defendant’s motion. Defendant may be out of the
16   home for work for no more than sixty (60) hours per week.
17         DATED this 10th day of September, 2013.
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20                                              A
                                                Robert S. Lasnik
21                                              United States District Judge

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     ORDER DENYING MOTION - 1
